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                              UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION


UNITED STATES OF AMERICA                        §
                                                §
          v.                                    §        Criminal No. 4:17-cr-414
                                                §
JAMES DARIAN PIERRE, and                        §
CHARLES WENDELL THOMPSON,                       §
                                                §
                         Defendants.            §


       UNITED STATES’ OBJECTIONS TO DEFENDANT PIERRE’S EXHIBIT LIST

          The United States of America, by and through undersigned counsel, hereby objects to the

following exhibits on Defendant Pierre’s exhibit list (Dkt. 172):

               Pierre             Description                           Objection
               Ex. No.
                 30        Dr. Eric Roberson Report                 Hearsay (FRE 802)
                 31        Attorney Hendershot File         Threshold requirements for advice
                                                            of counsel not satisfied (Dkt. 138)
                 32       Attorney Hendershot Emails        Threshold requirements for advice
                                                            of counsel not satisfied (Dkt. 138)
                 35      R. Walker Background Check        No objection if a proper foundation
                             by Dr. James Pierre            is laid to authenticate document
                 36      R. Walker State Order Cause         Improper impeachment (deferred
                                No. 1261294                   adjudication does not qualify as
                                                                conviction under FRE 6091)
                 37      R. Walker State Order Cause         Improper impeachment (deferred
                                No. 1261295                   adjudication does not qualify as
                                                                conviction under FRE 609)
                 38      Attorney Don Lewis Response               Hearsay (FRE 802)
                          to Allegations Contained in
                         Notice letter dated 3/31/2016



1
    See, e.g., United States v. Valentine, 401 F.3d 609, 615 (5th Cir. 2005).
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             39      Dr. James Pierre TMB Hearing                Hearsay (FRE 802)2
                              Transcripts
             40          James Pierre TMB Order                 Hearsay (FRE 802);
                                                               Relevance (FRE 402);
                                                          Risk of misleading jury/prejudice
                                                                     (FRE 403)
             41         Temporary Suspension of                 Hearsay (FRE 802);
                            License Notice                     Relevance (FRE 402);
                                                          Risk of misleading jury/prejudice
                                                                     (FRE 403)
             46        DEA Opioid Seminar Letter         No objection if a proper foundation
                                                          is laid to authenticate document
             47       DEA Opioid Seminar Refusal         No objection if a proper foundation
                                                          is laid to authenticate document
             48       Audio recording – Dr. James                Hearsay (FRE 802)3
                     Pierre interview with DPS/DEA
                              agents 07/26/16
             49        Audio recording – Deandra           No objection if recording used
                        Vaughn interview with             solely for potential impeachment
                       DPS/DEA agents 07/26/16                         purposes
             50         Audio recording – Felicia          No objection if recording used
                         Boyzer interview with            solely for potential impeachment
                        DPS/DEA agents 07/26/16                        purposes
             51         Audio recording – Rhonda           No objection if recording used
                         Walker interview with            solely for potential impeachment
                        DPS/DEA agents 07/26/16                        purposes



2
  The TMB Hearing Transcript contains the testimony of Sheila Hux, who is named on the
Government’s witness list (Dkt. 151). The Government does not object to Defendant Pierre’s use
of that portion of the TMB Hearing Transcript for potential impeachment purposes during cross
examination of Ms. Hux.
3
  The United States listed an excerpt of the Pierre interview recording on its Amended Exhibit List.
Dkt. 173 (Ex. 34). A party’s prior statements are not hearsay when offered into evidence against
that party. Fed. R. Evid. 801(d)(2)(A). Admission of the Government’s excerpt does not open
the door to admission of the entire recording under the rule of completeness. See Fed. R. Evid.
106; United States v. Herman, 997 F.3d 251, 264 (5th Cir. 2021); United States v. Branch, 91 F.3d
699, 729 (5th Cir. 1996).
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               52        Audio recording – Aaron                Hearsay (FRE 802)4
                          Ocampo interview with
                         DPS/DEA agents 07/26/16


                                                             Respectfully submitted,

                                                             JENNIFER LOWERY
                                                             Acting United States Attorney

                                                     By:            /s/
                                                             ___________________
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                                                             JOHN-ALEX ROMANO
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                                                             U.S Department of Justice
                                                             Criminal Division
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                               CERTIFICATE OF SERVICE


         I affirm that I electronically filed these Objections on ECF on September 15, 2021, which

will send notice of docket activity to all registered CM/ECF attorneys who have entered an

appearance in this case.


                                                           /s/ John-Alex Romano
                                                           John-Alex Romano




4
    Aaron Ocampo is listed as a witness for Defendant Pierre. See Dkt. 171.
